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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                           MISSOULA DIVISION


 UNITED STATES OF AMERICA,                              CR 13–11–M–DLC
                      Plaintiff,
                                                              ORDER
        vs.


 LARRY CHARLES McCORMICK,


                      Defendant.



      United States Magistrate Judge Jeremiah C. Lynch entered Findings and

Recommendation in this matter on May 30, 2013. Neither party objected and

therefore they are not entitled to de novo review of the record. 28 U.S.C. §

636(b)(1); United States v. Reyna-Tapia, 328 F.3d 1114, 1121 (9th Cir. 2003).

This Court will review the Findings and Recommendation for clear error.

McDonnell Douglas Corp. v. Commodore Bus. Mach., Inc., 656 F.2d 1309, 1313

(9th Cir. 1981). Clear error exists if the Court is left with a “definite and firm

conviction that a mistake has been committed.” United States v. Syrax, 235 F.3d

422, 427 (9th Cir. 2000).

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      Judge Lynch recommended this Court accept Larry Charles McCormick’s

guilty plea after McCormick appeared before him pursuant to Federal Rule of

Criminal Procedure 11, and entered his plea of guilty to one count of possession of

stolen firearms in violation of 18 U.S.C. § 922(j), as set forth in Count I of the

Indictment.

      I find no clear error in Judge Lynch’s Findings and Recommendation (doc.

58), and I adopt them in full, including the recommendation to defer acceptance of

the Plea Agreement until sentencing when the Court will have reviewed the Plea

Agreement and Presentence Investigation Report.

      Accordingly, IT IS HEREBY ORDERED that Larry Charles McCormick’s

motion to change plea (doc. 35) is GRANTED.

      DATED this 21st day of June, 2013.




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